      Case 1-18-45085-cec           Doc 29        Filed 03/12/19           Entered 03/12/19 10:48:54




March 12, 2019

Hon. Carla E. Craig
United States Bankruptcy Judge
Conrad B. Duberstein Courthouse
271-C Cadman Plaza East - Suite 1595
Brooklyn, NY 11201-1800

        Re:     Helen Gluck
                Case Number: 18-45085 Chapter 7

Dear Judge Craig:

        Balisok & Kaufman PLLC represents the above-referenced Debtor in the Chapter 7

Bankruptcy matter.

        On February 5, 2019, our office sent the loss mitigation documents to the counsel for the

Debtor’s Secured Creditor, Seterus, by way of email, to cgaliano@msgrb.com. On February 6,

2019, the counsel responded with a list of documents that must be accompanied with the loss

mitigation documents. On March 12, 2019, our office sent what we believe to be a full response

to their inquiry.

        Please feel free to call me if you have any questions. Thank you for your kind attention to

this matter.

                                                     Sincerely,
                                                     /s/ Joseph Y. Balisok
                                                     Joseph Y. Balisok, Esq.



cc: Catherine Galiano, cgaliano@msgrb.com




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